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AO 91 (Rev. 11111) Criminal Complaint


                                     UNITED STAT S DISTRICT COURT
                                                              for the
                                                    Southe

                  United States of America                       )
                               v.                                )
                   Herbert Eugene Myles
                                                                 )
                                                                 )
                                                                        Case No.    z_·,) 3- ~:J-jP3
                                                                 )
                                                                 )
                                                                 )
                          Defendant(s)


                                              CRIMIN L COMPLAINT
         I, the complainant in this case, state that the fol owing is true to the best of my knowledge and belief.
On or about the date(s) of                   07/01/2013                 in the county of              Franklin          in the
     Southern          District of           Ohio            , the defendant(s) violated:

            Code Section                                                   Offense Description
18 U.S.C. 751 (a)                            Escape from     ustody




         This criminal complaint is based on these facts

On May 18th 2013, MYLES was transferred from the F           deral Correctional Institution (FCI) Phoenix to the Alvis House,
1755 Alum Creek Drive, Columbus, Ohio. Inmate MYL            S' projected release date from the Alvis House was October
12th, 2013. On July 1st, 2013 MYLES left the Alvis Ho        se without permission. MYLES was placed on escape status by
the United States Bureau of Prisons at 4:00 pm on Jul        1st, 2013.


         ~ Continued on the attached sheet.




                                                                                            Printed name and title

Sworn to before me and signed in my presence.


Date:        ·1 /lo /t3

City and state:
                                                                                              Aus.A. B.   s~e-1\".fit
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                                             AFFIDAVIT


     I, Brad M. Fleming, being duly swo      do hereby declare and state the following:




     (a). I am a graduate of the Federal       Enforcement Training Center Criminal Investigator

     Training Program at Glynco, Georgia.




2)      I am the case agent for the crim     I investigation of Herbert Eugene Myles, a person

     sentenced to a term of incarceration    d in the custody of the United States Bureau of

     Prisons. This affidavit is based upon     conversations and coordinated efforts with other

     law enforcement agents and sources         upon my examination of various transcripts,

     reports, and other records. When the     ntents of documents or statements of others are

     reported herein, they are reported in   bstance and part unless otherwise indicated. I have




     cause.
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3)      This affidavit is made in support o an application for a criminal complaint charging

     Herbert Eugene MYLES with a violati n of 18 United States Code, Section 751(a). Based

     on my training, experience, and parti ipation in this and other investigations, I am aware of

     the following facts:




4)     On August 16th, 2010, Herbert Eu ene MYLES was sentenced to 50 months

     incarceration for the charge of Felon n possession of a Firearm by District Court Judge

     Walter H. Rice of the Southern Distri t of Ohio.




5)      On May 18th, 2013, MYLES was transferred from the Federal Correctional Institution

     (FCI) Phoenix to the Alvis House, 17 5 Alum Creek Drive Columbus, Ohio. Inmate MYLES

     projected release date from the Alvis House was October 12th, 2013. The Alvis House is

     a community treatment center under ontact with the Bureau of Prisons, and is a half-way

     house for federal prisoners approved   y the Attorney General of the United States.




6)      On July 1st, 2013, MYLES left th    Residential Reentry Center (RRC) without

     permission at approximately 4:00 pm     RRC staff made repeated attempts to contact

     MYLES but was unable to reach him. MYLES was placed on escape status by RRC as of

     July 1st, 2013 at 04:00pm. On July 1st, 2012, at 5:26 pm, RRC staff contacted the

     United States Marshals Service and i formed the Deputy in Charge of the escape status of
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        inmate MYLES. As of July 10th, 201 , at 11:00 am inmate MYLES has not returned nor

        made contact with the Alvis House.




   7)       Based on the foregoing facts, m knowledge and experience, I submit there is

        probable cause to believe that Herbe   Eugene MYLES, being a person in the custody of

        the Bureau of Prisons, did commit E ape in violation of Title 18 United States Code,

        Section 751 (a).




                                                       /3J~
                                                     Brad M. Fleming
                                                     Deputy United States Marshal




Sworn before me and subscribed in my pres nee the {
                                                        -K
                                                      0- day      of July, 2013, at Columbus, Ohio.




                                                     United S tes Magistrate Judge
                                                                       I
                                                     Sout    rn   ~t of Ohio
